This matter came on for hearing upon the petition of the relator, the answer of the respondent, the evidence and the arguments of counsel.
Upon consideration whereof the court finds that the relator is an officer, that there is no evidence supporting the charges preferred against the relator, that the action of the respondent was wrongful, arbitrary, collusive, contrary to law and not in good faith, and that the relator has no other adequate remedy (Christmann v. Coleman, 117 Ohio St. 1).
It is therefore ordered, adjudged and decreed that a peremptory writ of mandamus issue as prayed for by the relator, commanding his restoration to the office of Superintendent of Public Schools of the city of Springfield, Ohio, and that the costs be assessed against the respondent.
Writ allowed.
WEYGANDT, C.J., GARVER, HART, STEPHENSON, JONES and MATTHIAS, JJ., concur.
WILLIAMS, J., not participating. *Page 158 